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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

LAUTHA V. ANDERSON, SR.,                      )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )       Case No. 4:17-CV-2659 AGF
                                              )
CHANTAY GODERT, et al.,                       )
                                              )
       Defendants.                            )

            PLAINTIFF’S CORRECTED PROPOSED JURY INSTRUCTIONS

       COMES NOW Plaintiff Lautha V. Anderson, Sr. (“Plaintiff”), by and through his attorney

James W. Schottel, Jr., pursuant to Rule 51 of the Federal Rules of Civil Procedure and this

Honorable Court’s Order Relating to Trial of November 17, 2020 and hereby submits the following

corrected proposed jury instructions as Plaintiff’s Verdict A, 8th Cir. Civil Jury Instr, 4.80 (2020)

inadvertently failed to set forth the complete Verdict Form:
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                                                INSTRUCTION NO. ____

          The plaintiff and the defendants have stipulated -- that is, they have agreed – that the

following facts are true. You must, therefore, treat those facts as having been proved.




Plaintiff’s Instruction No. 1, 8th Cir. Civil Jury Instr, 2.03 (2020)




                                                                   2
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                                                INSTRUCTION NO. ____

          A substantial risk of serious harm is present when a prisoner faces an objectively

intolerable risk of harm such that prison officials cannot argue that they were subjectively

blameless for the resulting harm to the prisoner.




Plaintiff’s Instruction No. 2, 8th Cir. Civil Jury Instr, 4.21 (2020)




                                                                   3
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                                                INSTRUCTION NO. ____

          Deliberate indifference is established only if there is actual knowledge of [here describe

the substantial risk of serious harm to or serious medical need of] the plaintiff and if the

defendant disregards that [risk or need] by intentionally refusing or intentionally failing to take

reasonable measures to deal with the problem. Negligence or inadvertence does not constitute

deliberate indifference.




Plaintiff’s Instruction No. 3, 8th Cir. Civil Jury Instr, 4.23 (2020)



                                                                   4
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                                                INSTRUCTION NO. ____

          “Maliciously” means intentionally injuring another without just cause.




Plaintiff’s Instruction No. 4, 8th Cir. Civil Jury Instr, 4.24 (2020)




                                                                   5
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                                                INSTRUCTION NO. ____

          “Sadistically” means engaging in extreme or excessive cruelty or delighting in cruelty.




Plaintiff’s Instruction No. 5, 8th Cir. Civil Jury Instr, 4.25 (2020)




                                                                   6
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                                                INSTRUCTION NO. ____

          Your verdict must be for the Plaintiff and against Defendant Monica Rubino on

Plaintiff’s failure to protect claim if all of the following elements have been proved:

          First, one or more inmates cut Plaintiff’s neck; and the Plaintiff was incarcerated under

conditions posing a substantial risk of serious harm;

          Second, Defendant Monica Rubino knew of and was aware of the substantial risk of an

attack; and

          Third, Defendant Monica Rubino, with deliberate indifference to the Plaintiff’s need to

be protected from such attack, failed to protect the Plaintiff; and

          Fourth, as a direct result, the Plaintiff was injured.

          If any of the above elements has not been proved, then your verdict must be for the

Defendant, Monica Rubino.




Plaintiff’s Instruction No. 6, 8th Cir. Civil Jury Instr, 4.44 (2020)



                                                                   7
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                                                INSTRUCTION NO. ____

          Your verdict must be for the Plaintiff and against Defendant Taylor Preston on Plaintiff’s

failure to protect claim if all of the following elements have been proved:

          First, one or more inmates cut Plaintiff’s neck; and the Plaintiff was incarcerated under

conditions posing a substantial risk of serious harm;

          Second, Defendant Taylor Preston knew of and was aware of the substantial risk of an

attack; and

          Third, Defendant Taylor Preston, with deliberate indifference to the Plaintiff’s need to be

protected from such attack, failed to protect the Plaintiff; and

          Fourth, as a direct result, the Plaintiff was injured.

          If any of the above elements has not been proved, then your verdict must be for the

Defendant, Taylor Preston.




Plaintiff’s Instruction No. 7, 8th Cir. Civil Jury Instr, 4.44 (2020)



                                                                   8
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                                                INSTRUCTION NO. ____

          Your verdict must be for the Plaintiff and against Defendant Jeremy Hanson on

Plaintiff’s failure to protect claim if all of the following elements have been proved:

          First, one or more inmates cut Plaintiff’s neck; and the Plaintiff was incarcerated under

conditions posing a substantial risk of serious harm;

          Second, Defendant Jeremy Hanson knew of and was aware of the substantial risk of an

attack; and

          Third, Defendant Jeremy Hanson, with deliberate indifference to the Plaintiff’s need to be

protected from such attack, failed to protect the Plaintiff; and

          Fourth, as a direct result, the Plaintiff was injured.

          If any of the above elements has not been proved, then your verdict must be for the

Defendant, Jeremy Hanson.




Plaintiff’s Instruction No. 8, 8th Cir. Civil Jury Instr, 4.44 (2020)



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                                                INSTRUCTION NO. ____

          If you find in favor of the Plaintiff, you must award him an amount of money that will

fairly compensate him for any damages you find he sustained as a direct result of the conduct of

the defendant as submitted in Instruction _____. You should consider the following elements of

damages:

          1. The physical pain and suffering the plaintiff has experienced; the nature and extent of

the injury and whether the injury is temporary or permanent.




Plaintiff’s Instruction No. 9, 8th Cir. Civil Jury Instr, 4.70 (2020)




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                                    INSTRUCTION NO. ____

       In addition to the damages mentioned in other instructions, the law permits the jury under

certain circumstances to award punitive damages.



       If you find in favor of the Plaintiff under Instructions _____ and if it has been proved that

the conduct of that Defendant as submitted in Instruction _____ was malicious or recklessly

indifferent to the Plaintiff’s safety, then you may, but are not required to, award the Plaintiff an

additional amount of money as punitive damages for the purposes of punishing the Defendant for

engaging in misconduct and discouraging the Defendant and others from engaging in similar

misconduct in the future. You should presume that a Plaintiff has been made whole for his

injuries by the damages awarded under Instruction _____.



       If you decide to award punitive damages, you should consider the following in deciding

the amount of punitive damages to award:

       1. How reprehensible the Defendant’s conduct was. In this regard, you may consider

whether the harm suffered by the plaintiff was physical or economic or both; whether there was

violence, deceit, intentional malice, reckless disregard for human health or safety; and whether

the Defendant’s conduct that harmed the Plaintiff also posed a risk of harm to others.

       2. How much harm the defendant’s wrongful conduct caused the Plaintiff.

       3. What amount of punitive damages, in addition to the other damages already awarded,

is needed, considering the Defendant’s financial condition, to punish the Defendant for his or her

wrongful conduct toward the Plaintiff and to discourage the Defendant and others from similar

wrongful conduct in the future.




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          4. The amount of any punitive damages award should bear a reasonable relationship to

the harm caused to the Plaintiff.

          You may award punitive damages against any or all Defendants or you may refuse to

award punitive damages. If punitive damages are awarded against more than one Defendant, the

amounts awarded against those Defendants may be the same or they may be different.




Plaintiff’s Instruction No. 10, 8th Cir. Civil Jury Instr, 4.72 (2020)




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                                          VERDICT

        Note: Complete this form by writing in the names required by your verdict.

        On Plaintiff Lautha V. Anderson, Sr.’s claim against Defendant Monica Rubino, as

submitted in Instruction No. _____, we find in favor of



______________________________________________________________________________
             Plaintiff Lautha V. Anderson, Sr. or Defendant Monica Rubino




        On Plaintiff Lautha V. Anderson, Sr.’s claim against Defendant Taylor Preston, as

submitted in Instruction No. _____, we find in favor of



______________________________________________________________________________
             Plaintiff Lautha V. Anderson, Sr. or Defendant Taylor Preston




        On Plaintiff Lautha V. Anderson, Sr.’s claim against Defendant Jeremy Hanson, as

submitted in Instruction No. _____, we find in favor of



______________________________________________________________________________
             Plaintiff Lautha V. Anderson, Sr. or Defendant Jeremy Hanson


Note:          Complete the following paragraphs only if one or more of the above findings is in

               favor of the Plaintiff.




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          We find Plaintiff Lautha V. Anderson, Sr.’s damages to be:


                    $ __________________ (state the amount or, if none, write the word “none”).


Note:               You may not award punitive damages against any Defendant unless you have first

                    found against that Defendant and awarded the Plaintiff actual damages.



          We assess punitive damages against Defendant Monica Rubino as follows:


                    $ _________________ (state the amount or, if none, write the word “none”).



          We assess punitive damages against Defendant Taylor Preston as follows:


                    $ _________________ (state the amount or, if none, write the word “none”).



          We assess punitive damages against Defendant Jeremy Hanson, as follows:


                    $ _________________ (state the amount or, if none, write the word “none”).




                                                                     ____________________________
                                                                     Foreperson


Dated: ___________________




Plaintiff’s Verdict A, 8th Cir. Civil Jury Instr, 4.80 (2020)




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                                              Respectfully submitted,

                                              SCHOTTEL & ASSOCIATES, P.C.

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                                                     Attorney for Plaintiff
                                                     Lautha V. Anderson, Sr.


                                CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2020, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the following:

                                              Michael Pritchett
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                                              James W. LeCompte III
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                                              Monica Rubino
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                                              s/James W. Schottel, Jr.




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